Case 1:19-cv-11041-FDS Document1 Filed 05/02/19 Page 1 of 5

Pro Se | (Rev. 09/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

 

 

 

) Case No
) (to be filled in by the Clerk’s Office)
Plaintiffis) )
(Write the full name of each plaintiff who is filing this complaint. “one
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) LJ Yes L_JNo
please write "see attached" in the space and attach an additional )
page with the full list of names.) )
~Ve )
) re
ES <2 =
) 2 = =
a3 2 &
—-- ) 52 it.
Defendant(s) ) 20 es =
(Write the full name of each defendant who is being sued. If the O29 warm
names of all the defendants cannot fit in the space above, please ) Pie at => Or
write “see attached” in the space and attach an additional page ) oe & ad “TT
with the full list of names.) tc ~~ 7.
og OQ
ae | we | m
©

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

—_—
Name Judit Wwete
Street Address e. (). A0y Q GO Koo
City and County iD a eo lau WAN A

State and Zip Code OD. \Sa.4

Telephone Number SL > wer4 - A949 “1
E-mail Address judyumwe WWaUghvoO: Com
LJ oJ Og

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Page | of 5
Case 1:19-cv-11041-FDS Document1 Filed 05/02/19 Page 2 of 5

Pro Se 1 (Rev. 09/16} Complaint for a Civil Case

Defendant No. 1

 

 

 

Name Cire l(s<a Wewisy thy 51.14 tome,
Job or Title (ifknown) UY

Street Address \ 4 Loley e dle Avenue

City and County C \vel se Cy S

 

State and Zip Code VV A, DIAG C2O\GO
Telephone Number (p | >} - U6 *74 - G SHG

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address
City and County

 

 

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (ifknawn)
Street Address

 

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (ifknown)

 

Page 2 of 5
Case 1:19-cv-11041-FDS Document1 Filed 05/02/19 Page 3 of 5

Pro Se 1 (Rev, 09/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[X] Federal question [_] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
As If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

ee a issue in this case. —|~ WAS tired Loom work wy tho ud cn
\e€QaSon i A cde Wiech VAC THE ¥ “qt to ve Ww Atel And
Accusecdl Me wit Ming s Ancd { Lave never done :

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a, If the plaintilf is an individual
The plaintiff. ame) , is a citizen of the

 

State of (nami)

 

b. If the plaintilf is a corporation

The plaintiff. (name) , iS incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (ame) . Oris a citizen of

 

(foreign nation)

 

Page 3 of 5
Case 1:19-cv-11041-FDS Document 1 Filed 05/02/19 Page 4 of 5

Pro Se | (Rev. 09/16) Complaint for a Civil Case

Tif.

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of fname) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of exch claim in a separate paragraph. Attach additional pages if needed,

The Plarninet hone C#ausecl me lors Af erroth one!
Aveo ave fom my Worle, from May PolE up now
mas LX Who ae Ceuc\ On pre Wau ween

CSN OW eo Lnanrcral acl anrodon onal a> well
Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. TL waa Awe Coure Tw OVA Tle Play tre
+0 pa me Mme entire mantis that si S peed
jovless air ileal as oN WACome +0 DUP POA my Ba
Who Was 2 Oo¢ivclure cnod\ ot WOme in AS
a isle fee PONE HOS bee TemOUEd fom SLI |
> D NIECOMRNL HOMELESS VECAUE Of thre 1 AMS
\WO cr 7 (| H as | St UCe,
Wevetor 4 Claim SO O00 Wetal damages QSHCE,
Case 1:19-cv-11041-FDS Document1 Filed 05/02/19 Page 5of5

Pro Se | (Rev. 09/16) Complaint for a Civil Case

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending. modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk's Office may result

in the dismissal of my case.

d

Date of signing: Max 2) O \q|

Signature of Plaintiff

Obr

Printed Name of Plaintiff “uci An TY\ Al -¢ ( (

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number

E-mail Address

 

 

 

 

 

 

 

Page 5 of 5
